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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:19-CIV-62798

  ORLANDO CAMACHO,

         Plaintiff,

  vs.

  PRECISE STRIPES “LLC”,
  MANUEL J. LOPEZ, and
  PABLO BAYONA,

        Defendants.
  ______________________________/

                COMPLAINT FOR FLSA OVERTIME WAGE VIOLATION(S)

         Plaintiff, Orlando Camacho, sues Defendants, Precise Stripes “LLC”, Manuel J. Lopez,

  and Pablo Bayona, as follows:

                                  Parties, Jurisdiction, and Venue

         1.      Plaintiff, Orlando Camacho, is over 18 years old and has been a sui juris

  resident of Miami-Dade County, Florida, at all times material.

         2.      Mr. Camacho consents to participate in this lawsuit.

         3.      Mr. Camacho was an employee of Defendants, as the term “employee” is defined

  by 29 U.S.C. §203(e).

         4.      Mr. Camacho was a non-exempt employee of Defendants.

         5.      Defendant, Precise Stripes “LLC”, is a sui juris Florida for-profit corporation

  that was authorized to conduct and actually conducted its for-profit business in Broward County,

  Florida, at all times material, where it maintains its principal place of business.

         6.      Defendant, Manuel J. Lopez, was at all times material the Owner of Precise

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  Stripes “LLC”, for the time period relevant to this lawsuit. He ran Precise Stripes “LLC”’s day-

  to-day operations, was responsible for all operational decisions, was partially or totally

  responsible for paying Plaintiff’s wages.

         7.      Defendant, Pablo Bayona, was at all times material the Owner of Precise

  Stripes “LLC”, for the time period relevant to this lawsuit. He also ran Precise Stripes “LLC”’s

  day-to-day operations, was responsible for all operational decisions, and was partially or totally

  responsible for paying Plaintiff’s wages.

         8.      Defendants were Plaintiff’s direct employers, joint employers and co-employers

  for purposes of the FLSA, as the term “employer” is defined by 29 U.S.C. §203(d).

         9.      Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Defendants transact

  business in this District, because Defendant, Precise Stripes “LLC”, maintained its principal

  place of business in this District, because all information returns were issued to Plaintiff in this

  District, Plaintiff worked and was due to be paid in Browad County, and because most if not all

  of the operational decisions were made in this District.

         10.     Defendants, Precise Stripes “LLC”, Manuel J. Lopez, and Pablo Bayona, were

  Plaintiff’s direct employers, joint employers and co-employers for purposes of the FLSA, as the

  term “employer” is defined by 29 U.S.C. §203(d). All three Defendants employed Plaintiff.

         11.     This Court has original jurisdiction over Plaintiff’s federal question claim pursuant

  to 28 U.S.C. §1331 26 U.S.C. §201, et seq.

                                          Background Facts

         12.     Defendants regularly employed two or more employees for the relevant time

  period that handled goods or materials that travelled through interstate commerce, or used



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  instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

  by the Fair Labor Standards Act.

         13.        In particular, Defendants own and operate a company that provides residential

  and commercial parking lot painting, sealcoating, paving, and drainage, roadway striping,

  lighting, civil engineering, concrete, and signage creation and installation.

         14.        Defendants have been at all times material engaged in interstate commerce in the

  course of their provision of construction, asphalt, concrete, and related services which,

  traditionally, cannot be performed without using goods, materials, supplies, thermoplastic

  coatings, beads, paints, machinery, and equipment that have all moved through interstate

  commerce.

         15.        Defendants also engage in interstate commerce in the course of their submission

  of billings and receipt of payment involving out-of-state payors.

         16.        Furthermore, Defendants obtain, solicit, exchange and send funds to and from

  outside of the State of Florida, regularly and recurrently use telephonic transmissions going

  outside of the State of Florida to conduct business, and transmit electronic information through

  computers, the internet, via email, and otherwise outside of the State of Florida in the course of

  their business.

         17.        Defendants advertise their services online at https://precisestripes.com/, a

  website that they registered with Wild West Domains, LLC, a foreign corporation.

         18.        Defendants’ annual gross revenues derived from this interstate commerce are

  believed to be in excess of $500,000.00 for the relevant time period.




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         19.     Plaintiff worked for Defendants from about July 2019 to October 31, 2019. To the

  extent that records exist regarding the exact dates of Plaintiff’s employment exist, such records

  are in the exclusive custody of Defendants.

         20.     Plaintiff’s work for Defendants was actually in or so closely related to the

  movement of commerce while he worked for Defendants that the Fair Labor Standards Act

  applies to Plaintiff’s work for Defendants in the course of his regularly and recurrently striping

  machinery, beads, thermoplastics, paints, and other goods and supplies that moved through

  interstate commerce.

         21.     Plaintiff would regularly and recurrently handle beads, thermoplastics, paints, and

  other materials and supplies provided by Defendants that moved through interstate commerce.

         22.     Defendants would pay Plaintiff an hourly rate of $15.00 during his employment

  with Defendants.

         23.     Plaintiff would regularly and routinely work more than 40 hours in a workweek

  for Defendants.

                                                Liability

         24.     Defendants failed and refused to pay Plaintiff overtime wages calculated at time

  and one-half of his regular hourly rate(s) of pay for all of the hours that he worked beyond 40

  hours in a given workweek.

         25.     Defendants willfully and intentionally refused to pay Plaintiff wages at a rate of

  time and one-half times his regular rate of pay for each of the overtime hours he worked during

  the relevant time period by paying him in check for all hours worked over 40 in a workweek at

  his regular rate of pay.



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          26.     Defendants either recklessly failed to investigate whether their failure to pay

  Plaintiff an overtime wage for the hours he worked during the relevant time period violated the

  Federal Wage Laws of the United States, they intentionally misled Plaintiff to believe that

  Defendants were not required to pay an overtime rate, and/or Defendants concocted a scheme

  pursuant to which the deprived Plaintiff the overtime pay earned.

          27.     Any/all condition(s) precedent to filing this lawsuit occurred and/or was satisfied

  by Plaintiff.

          28.     Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for

  all services rendered.

          29.     Plaintiff is entitled to a backpay award of overtime wages for all overtime hours he

  worked, plus an equal amount as a penalty, plus all attorneys’ fees and costs.

          WHEREFORE Plaintiff, Orlando Camacho, demands the entry of a judgment in his

  favor and against Defendants, Precise Stripes “LLC”, Manuel J. Lopez, and Pablo Bayona,

  jointly and severally, after trial by jury and as follows:

                  a.       That Plaintiff recover compensatory overtime wage damages and an equal

                           amount of liquidated damages as provided under the law and in 29 U.S.C.

                           § 216(b) – or interest on the unpaid wages if no liquidated damages are

                           awarded;

                  b.       That Plaintiff recover pre-judgment interest on all unpaid overtime wages

                           if the Court does not award liquidated damages;

                  c.       That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                           expenses pursuant to the FLSA;

                  d.       That Plaintiff recover all interest allowed by law;

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                e.      That Defendants be Ordered to make Plaintiff whole by providing

                        appropriate overtime pay and other benefits wrongly denied in an amount

                        to be shown at trial and other affirmative relief;

                f.      That the Court declare Defendants to be in willful violation of the

                        overtime provisions of the FLSA; and

                g.      Such other and further relief as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury of all issues so triable.

        Dated this 8th day of November, 2019.

                                                         Respectfully Submitted,

                                                         s/Brian H. Pollock, Esq.
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